Case 25-30155 Document 80-14 Filed in TXSB on 05/14/25 Page 1 of 7
    Case
     Case25-30155
          25-30155 Document
                    Document80-14
                             54 Filed
                                  FiledininTXSB
                                            TXSBonon04/22/25
                                                     05/14/25 Page
                                                               Page1 2ofof6 7
                                                                     United States Bankruptcy Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                            April 22, 2025
                                                                         Nathan Ochsner, Clerk

              IN THE UNITED STATED BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

IN RE:                                  §
                                        §      CASE NO: 25-30155
ALLIANCE FARM AND RANCH,                §
LLC, et al.,                            §
                                        §
         Debtors.                       §
                                        §
                                        §      CHAPTER 11

         ORDER DENYING EMERGENCY MOTION TO DISMISS (ECF
         NO. 29) AND GRANTING EMERGENCY MOTION FOR JOINT
                     ADMINISTRATION (ECF NO. 40).

                              I.    BACKGROUND

        Alliance Farm and Ranch, LLC (“AFR”) filed its petition for chapter
     7 bankruptcy on January 7, 2025 (“Petition Date”).1 Dustin Etter filed
     a Motion to Dismiss for Failure to File Information on February 21,
     2025.2 This motion was subsequently withdrawn at the April 9, 2025,
     hearing.3 AFR filed an Emergency Motion to Convert Case to Chapter
     11 (“Motion to Convert”) on March 17, 2025.4 On March 19, 2025, this
     Court heard argument on the Motion to Convert5 and entered an order
     granting the Motion to Convert.6

           Erik and Darla Ostrander filed an Emergency Motion to Dismiss
     (“Motion to Dismiss”) on March 28, 2025.7 AFR filed an Objection to the
     Motion to Dismiss on April 7, 2025.8 On the same day, Alliance Energy

     1 ECF No. 1.
     2 ECF No. 7.
     3 ECF No. 46.
     4 ECF No. 13.
     5 ECF No. 23.
     6 ECF No. 24.
     7 ECF No. 29.
     8 ECF No. 41.




                                       1
Case
 Case25-30155
      25-30155 Document
                Document80-14
                         54 Filed
                              FiledininTXSB
                                        TXSBonon04/22/25
                                                 05/14/25 Page
                                                           Page2 3ofof6 7




Partners, LLC (“AEP”) filed for relief under chapter 11 of the bankruptcy
code. AEP and AFR then filed an Emergency Motion for Joint
Administration (“Motion for Joint Administration”).9 Etter filed a
Response to the Motion for Joint Administration.10 The hearing on the
Motion to Dismiss and Motion for Joint Administration was scheduled
for April 9, 2025. All parties submitted Witness and Exhibit Lists. 11
On April 9, 2025, the Court heard testimony and argument on the
Motion to Dismiss and Motion for Joint Administration.12 The Court
admitted exhibits at ECF Nos. 37-1 through 37-8, 44-5, and 44-6.13 The
Court took judicial notice of ECF No. 45-1.14 The Court took the Motion
to Dismiss and the Motion for Joint Administration under advisement.
Subsequently, Ostrander filed a Post-Hearing Brief in Support of the
Motion to Dismiss15 and AFR filed a Reply.16

                                  II.   JURISDICTION

   The District Court has jurisdiction over this proceeding under 28
U.S.C. § 1334(a). Venue is proper in this District pursuant to 28 U.S.C.
§ 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). This
proceeding has been referred to the Bankruptcy Court under General
Order 2012-6.

  The Ostranders are scheduled to close on the sale of 5450 Honea
Egypt Rd, Montgomery, TX 77316 (the “Property”) on April 24, 2025.
Therefore, emergency consideration of the Motion to Dismiss and
Motion for Joint Administration is appropriate.




9   ECF No. 40.
10 ECF No. 42.
11 ECF Nos. 37, 38, 39, 44, 45.
12 ECF No. 46.
13 ECF No. 46.
14 ECF No. 46.
15 ECF No. 50.
16 ECF No. 52.




                                          2
Case
 Case25-30155
      25-30155 Document
                Document80-14
                         54 Filed
                              FiledininTXSB
                                        TXSBonon04/22/25
                                                 05/14/25 Page
                                                           Page3 4ofof6 7




                       III.     LEGAL STANDARD

   A. Motion for Joint Administration

   Under Rule 1015(b) of the Federal Rules of Bankruptcy Procedure,
this Court can jointly administer cases involving related debtors. Joint
administration of cases is governed by Rule 1015-1 of the Bankruptcy
Local Rules for the Southern District of Texas.

   B. Motion to Dismiss

    Under Section 1112(b) of the Bankruptcy Code, this Court has the
authority to dismiss a case for “cause,” as non-exhaustively defined in
1112(b)(4).     Additionally, section 1112(b) affords flexibility for
bankruptcy courts by allowing findings of “cause” outside of the
examples enumerated under the statute. See In re Little Creek Dev. Co.,
779 F.2d 1068, 1072 (5th Cir. 1986). Numerous cases have found a lack
of good faith to constitute “cause” for dismissing the case. Id.

                              IV.   DISCUSSION

   A. Motion for Joint Administration

   AFR and AEP request joint administration of the two bankruptcy
cases. According to AFR and AEP, financial affairs, management, and
business operations are related, and both entities historically operated
from the Property.17 Consolidation of the cases is a procedural remedy
and does not affect any parties’ substantive rights. Intercreditor
relationships do not make consolidation for joint administration
inappropriate.

   B. Motion to Dismiss

  It is uncontested that foreclosure of the Property occurred before
AFR’s bankruptcy petition was filed.18 The foreclosure occurred on

17 ECF No. 40 at 5.
18 ECF No. 41 at 1.




                                     3
Case
 Case25-30155
      25-30155 Document
                Document80-14
                         54 Filed
                              FiledininTXSB
                                        TXSBonon04/22/25
                                                 05/14/25 Page
                                                           Page4 5ofof6 7




January 7, 2025, at 10:15 am.19 AFR’s bankruptcy petition was filed on
January 7, 2025, at 10:40 am.20 AFR does not dispute the automatic
stay does not apply to the foreclosure.21 As such, the Property is not,
and could not have been, part of the bankruptcy estate.

   Ostrander had a secured claim against AFR of $4,500,000 with a lien
on the Property.22 Ostrander has entered a contract to sell the Property
to a third-party buyer for $6,800,000.23 Ostrander testified at the
hearing if the sale goes through, Ostrander will be owed nothing from
AFR.24

   The testimony indicated AFR has personal property of $231,532.25
Ostrander has no lien on AFR or AEP personal property, so the personal
property could not have been foreclosed on and is part of the estate. At
the hearing, Jerrod Furr was called to testify. Furr is the controlling
partner of Alliance Energy Partner Holdings, which holds 100% of
AEP.26 Furr is also the President of AFR.27 AEP leased and operated
out of the Property prior to the foreclosure.28 Furr lived with his family
on the Property. Furr testified that AEP owes approximately $2,780,000
to its creditors and has an unsecured claim against AFR for
approximately $1,000,000 although owns that claim is disputed.29

   In the Motion to Dismiss, Ostrander argues the case should be
dismissed under Section 1112(b) of the Bankruptcy Code for “cause”
because there is no real property in the estate and therefore no basis for
reorganization.30 However, this argument is not persuasive. The


19 ECF No. 37-5.
20 ECF No. 37-7.
21 ECF No. 41 at 1.
22 ECF No. 45-1.
23 ECF No. 37-6 at 2.
24 ECF No. 46.
25 ECF No. 45-1.
26 ECF No. 46.
27 ECF No. 45-1.
28 ECF No. 46.
29 ECF No. 45-1.
30 ECF No. 29 at 8.




                                    4
Case
 Case25-30155
      25-30155 Document
                Document80-14
                         54 Filed
                              FiledininTXSB
                                        TXSBonon04/22/25
                                                 05/14/25 Page
                                                           Page5 6ofof6 7




existence of Debtor’s personal property as part of the bankruptcy estate,
as well as claims against and potentially by the estate, makes this a
bankruptcy case appropriate for potential reorganization or liquidation.

    Next, the Court must look to whether the bankruptcy petition was a
bad faith filing. This is the second argument Ostrander advances in the
Motion to Dismiss.31 “Determining whether the debtor's filing for relief
is in good faith depends largely upon the bankruptcy court's on-the-spot
evaluation of the debtor's financial condition, motives, and the local
financial realities. In re Little Creek Dev. Co., 779 F.2d 1068, 1072 (5th
Cir. 1986). Evaluating the six factors outlined in Little Creek, issues of
fact exist.

    Furthermore, the fact the filing did not accomplish its purpose of
preventing the January 7, 2025, foreclosure sale of the Property does not
automatically make the filing a bad faith filing. For a bad faith finding,
a debtor must do more than avail themselves of their legal right to file
for bankruptcy protection. “Courts can determine good faith only on an
ad hoc basis and must decide whether the petitioner has abused the
provisions, purpose, or spirit of bankruptcy law.” In re Tamecki, 229
F.3d 205, 207 (3d Cir. 2000). The evidence presented at the hearing does
not compel a finding of bad faith, more evidence would be needed.

                          V.     CONCLUSION

    Because the foreclosure sale of the Property occurred prior to the
Petition Date, the Court CONFIRMS that the Property is not property
of the estate under 11 U.S.C. section 541 and that the automatic stay is
not in effect with respect to the Property (5450 Honea Egypt Rd,
Montgomery, TX 77316).

   With respect to the Motion for Joint Administration, this is a strictly
procedural motion that does not impact any parties’ substantive rights.
As a result, the Motion for Joint Administration is GRANTED. A
separate Order will be entered to this effect.


31 ECF No. 29 at 10.




                                    5
Case
 Case25-30155
      25-30155 Document
                Document80-14
                         54 Filed
                              FiledininTXSB
                                        TXSBonon04/22/25
                                                 05/14/25 Page
                                                           Page6 7ofof6 7




   With respect to the Motion to Dismiss, AFR and AEP state there are
valid claims against the bankruptcy estates by third-party creditors.32
The analysis of these claims is a question for another day. To determine
whether AFR acted in good faith in filing this bankruptcy case, more
evidence would have been needed. As a result, the Motion to Dismiss is
DENIED.

IT IS SO ORDERED.

SIGNED 04/22/2025




                                             ___________________________________
                                             Alfredo R Pérez
                                             United States Bankruptcy Judge




32 ECF No. 45-1.




                                   6
